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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
 Michelle R. Ghidotti-Gonsalves (SBN: 232837)
 Jennifer R. Bergh (SBN: 305219)
 The Law Offices of Michelle Ghidotti
 5120 E. La Palma Ave., Ste. 206
 Anaheim Hills, CA 92807
 Phone: (949) 354-2601
 Facsimile: (949) 200-4381
 Email: mghidotti@ghidottilaw.com




     Movant appearing without an attorney
     Attorney for Movant

                                            UNITED STATES BANKRUPTCY COURT
                                      CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                      CASE NO.: 2:16-bk-26918-SK
 Ulises Caldera                                                              CHAPTER: 13

                                                                                      NOTICE OF MOTION AND MOTION
                                                                                     FOR RELIEF FROM THE AUTOMATIC
                                                                                        STAY UNDER 11 U.S.C. § 362
                                                                                       (with supporting declarations)
                                                                                             (REAL PROPERTY)

                                                                             DATE:02/08/2017
                                                                             TIME: 8:30 a.m.

                                                               Debtor(s).    COURTROOM: 1575

 Movant: JTF Rose Inc., A California Corporation, DBA Rose Financial, its successors and assigns



1. Hearing Location:
          255 East Temple Street, Los Angeles, CA 90012                                   411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                               1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Notice is given to the Debtor and trustee (if any)(Responding Parties), their attorneys (if any), and other interested
   parties that on the date and time and in the courtroom stated above, Movant will request that this court enter an order
   granting relief from the automatic stay as to Debtor and Debtor’s bankruptcy estate on the grounds set forth in the
   attached Motion.

3. To file a response to the motion, you may obtain an approved court form at www.cacb.uscourts.gov/forms for use in
   preparing your response (optional LBR form F 4001-1.RFS.RESPONSE), or you may prepare your response using
   the format required by LBR 9004-1 and the Court Manual.



          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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4. When serving a response to the motion, serve a copy of it upon the Movant's attorney (or upon Movant, if the motion
   was filed by an unrepresented individual) at the address set forth above.

5. If you fail to timely file and serve a written response to the motion, or fail to appear at the hearing, the court may deem
   such failure as consent to granting of the motion.

6.        This motion is being heard on REGULAR NOTICE pursuant to LBR 9013-1(d). If you wish to oppose this motion,
          you must file and serve a written response to this motion no later than 14 days before the hearing and appear at
          the hearing.

7.        This motion is being heard on SHORTENED NOTICE pursuant to LBR 9075-1(b). If you wish to oppose this
          motion, you must file and serve a response no later than (date)     and (time)               ; and, you
          may appear at the hearing.

     a.        An application for order setting hearing on shortened notice was not required (according to the calendaring
               procedures of the assigned judge).

     b.        An application for order setting hearing on shortened notice was filed and was granted by the court and such
               motion and order have been or are being served upon the Debtor and upon the trustee (if any).

     c.        An application for order setting hearing on shortened notice was filed and remains pending. After the court
               rules on that application, you will be served with another notice or an order that specifies the date, time and
               place of the hearing on the attached motion and the deadline for filing and serving a written opposition to the
               motion.


     Date: 01/13/2017                                                             The Law Offices of Michelle Ghidotti
                                                                                  Printed name of law firm (if applicable)

                                                                                  Michelle R. Ghidotti-Gonsalves, Esq.
                                                                                  Printed name of individual Movant or attorney for Movant



                                                                                  /s/Michelle R. Ghidotti-Gonsalves
                                                                                  _____________________________________________
                                                                                  Signature of individual Movant or attorney for Movant




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               MOTION FOR RELIEF FROM THE AUTOMATIC STAY AS TO REAL PROPERTY

1. Movant is the:
         X Holder: Movant has physical possession of a promissory note that either (1) names Movant as the payee under
               the promissory note or (2) is indorsed to Movant, or indorsed in blank, or payable to bearer.
         X     Beneficiary: Movant is either (1) named as beneficiary in the security instrument on the subject property (e.g.,
               mortgage or deed of trust) or (2) is the assignee of the beneficiary.
               Servicing agent authorized to act on behalf of the Holder or Beneficiary.
               Other (specify):


2. The Property at Issue (Property):

    a. Address:

             Street address: 14555 Jeremie St.
             Unit/suite number:
             City, state, zip code: Baldwin Park, CA 91706

    b. Legal description, or document recording number (including county of recording), as set forth in Movant’s deed of
       trust (attached as Exhibit A   ):

3. Bankruptcy Case History:

    a. A     voluntary     involuntary bankruptcy petition under chapter                           7       11        12       13
       was filed on (date) 12/28/2016 .

    b.             An order to convert this case to chapter            7       11       12        13 was entered on (date)                    .
    c.             A plan, if any, was confirmed on (date)                       .

4. Grounds for Relief from Stay:

    a.             Pursuant to 11 U.S.C. § 362(d)(1), cause exists to grant Movant relief from stay as follows:
             (1)         Movant’s interest in the Property is not adequately protected.
                   (A)       Movant’s interest in the Property is not protected by an adequate equity cushion.
                   (B)       The fair market value of the Property is declining and payments are not being made to Movant
                             sufficient to protect Movant’s interest against that decline.
                   (C)       Proof of insurance regarding the Property has not been provided to Movant, despite the Debtor’s
                             obligation to insure the collateral under the terms of Movant’s contract with the Debtor.
             (2)         The bankruptcy case was filed in bad faith.
                   (A) X     Movant is the only creditor, or one of very few creditors, listed or scheduled in the Debtor’s case
                             commencement documents.
                   (B)       The Property was transferred to the Debtor either just before the bankruptcy filing or after the filing.
                   (C)       A non-individual entity was created just prior to the bankruptcy petition date for the sole purpose of
                             filing this bankruptcy case.
                   (D)       Other bankruptcy cases have been filed in which an interest in the Property was asserted.
                   (E)       The Debtor filed only a few case commencement documents with the bankruptcy petition. Schedules
                             and the statement of financial affairs (or chapter 13 plan, if appropriate) have not been filed.
                   (F)   X Other (see attached continuation page).


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          (3)         (Chapter 12 or 13 cases only)
                (A)       All payments on account of the Property are being made through the plan.
                              Preconfirmation      Postconfirmation plan payments have not been made to the chapter 12
                          trustee or chapter 13 trustee.

                (B)       Postpetition mortgage payments due on the note secured by a deed of trust on the Property have not
                          been made to Movant.
          (4)         The Debtor filed a Statement of Intentions that indicates the Debtor intends to surrender the Property.

          (5)         The Movant regained possession of the Property on (date)                                   ,
                      which is    prepetition   postpetition.

          (6)         For other cause for relief from stay, see attached continuation page.

     b.         Pursuant to 11 U.S.C. § 362(d)(2)(A), the Debtor has no equity in the Property; and, pursuant to
                § 362(d)(2)(B), the Property is not necessary to an effective reorganization.

     c.         Pursuant to 11 U.S.C. § 362(d)(3), the Debtor has failed, within the later of 90 days after the order for relief or
                30 days after the court determined that the Property qualifies as “single asset real estate” as defined in
                11 U.S.C. § 101(51B) to file a reasonable plan of reorganization or to commence monthly payments.

     d.         Pursuant to 11 U.S.C. § 362(d)(4), the Debtor’s filing of the bankruptcy petition was part of a scheme to delay,
                hinder, or defraud creditors that involved:
          (1)         The transfer of all or part ownership of, or other interest in, the Property without the consent of Movant or
                      court approval; or
          (2)         Multiple bankruptcy cases affecting the Property.

5.        Grounds for Annulment of the Stay. Movant took postpetition actions against the Property or the Debtor.

     a.         These actions were taken before Movant knew the bankruptcy case had been filed, and Movant would have
                been entitled to relief from the stay to proceed with these actions.

     b.         Movant knew the bankruptcy case had been filed, but Movant previously obtained relief from stay to proceed
                with these enforcement actions in prior bankruptcy cases affecting the Property as set forth in Exhibit _____.

     c.         Other (specify):



6. Evidence in Support of Motion: (Declaration(s) MUST be signed under penalty of perjury and attached to this
   motion)
     a. The REAL PROPERTY DECLARATION on page 6 of this motion.
     b.         Supplemental declaration(s).
     c.         The statements made by Debtor under penalty of perjury concerning Movant’s claims and the Property as set
                forth in Debtor’s case commencement documents. Authenticated copies of the relevant portions of the case
                commencement documents are attached as Exhibit C        .
     d.         Other:



7.        An optional Memorandum of Points and Authorities is attached to this motion.




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Movant requests the following relief:

1. Relief from the stay is granted under:                   11 U.S.C. § 362(d)(1)             11 U.S.C. § 362(d)(2)             11 U.S.C. § 362(d)(3).

2.          Movant (and any successors or assigns) may proceed under applicable nonbankruptcy law to enforce its
            remedies to foreclose upon and obtain possession of the Property.

3.          Movant, or its agents, may, at its option, offer, provide and enter into a potential forebearance agreement, loan
            modification, refinance agreement or other loan workout or loss mitigation agreement. Movant, through its
            servicing agent, may contact the Debtor by telephone or written correspondence to offer such an agreement. Any
            such agreement shall be nonrecourse unless stated in a reaffirmation agreement.

 .          Confirmation that there is no stay in effect.

 .          The stay is annulled retroactive to the bankruptcy petition date. Any postpetition actions taken by Movant to
            enforce its remedies regarding the Property shall not constitute a violation of the stay.

 .          The co-debtor stay of 11 U.S.C. §1201(a) or § 1301(a) is terminated, modified or annulled as to the co-debtor, on
            the same terms and conditions as to the Debtor.

 .          The 14-day stay prescribed by FRBP 4001(a)(3) is waived.

 .          A designated law enforcement officer may evict the Debtor and any other occupant from the Property regardless
            of any future bankruptcy filing concerning the Property for a period of 180 days from the hearing on this Motion:
                without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
                compliance with applicable nonbankruptcy law.

 .          Relief from the stay is granted under 11 U.S.C. § 362(d)(4): If recorded in compliance with applicable state laws
            governing notices of interests or liens in real property, the order is binding in any other case under this title
            purporting to affect the Property filed not later than 2 years after the date of the entry of the order by the court,
            except that a debtor in a subsequent case under this title may move for relief from the order based upon changed
            circumstances or for good cause shown, after notice and hearing.

     .      The order is binding and effective in any bankruptcy case commenced by or against any debtor who claims any
            interest in the Property for a period of 180 days from the hearing of this Motion:
                 without further notice, or     upon recording of a copy of this order or giving appropriate notice of its entry in
                 compliance with applicable nonbankruptcy law.

1 .         The order is binding and effective in any future bankruptcy case, no matter who the debtor may be:
                 without further notice, or  upon recording of a copy of this order or giving appropriate notice of its entry in
                 compliance with applicable nonbankruptcy law.

1 .         Upon entry of the order, for purposes of Cal. Civ. Code § 2923.5, the Debtor is a borrower as defined in Cal. Civ.
            Code § 2920.5(c)(2)(C).
1 .         If relief from stay is not granted, adequate protection shall be ordered.

1 .         See attached continuation page for other relief requested.

         Date: 01/13/2017                                                            The Law Offices of Michelle Ghidotti
                                                                                    Printed name of law firm (if applicable)
                                                                                    Michelle R. Ghidotti-Gonsalves, Esq.
                                                                                    Printed name of individual Movant or attorney for Movant
                                                                                    /s/Michelle R. Ghidotti-Gonsalves
                                                                                    Signature of individual Movant or attorney for Movant

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      X
                   In re Caldera
              13                    2:16-bk-11690
               02/10/2016                                            11/18/2016
                                         X




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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
5120 E. La Palma Ave., Ste. 206
Anaheim Hills, CA 92807

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION AND MOTION FOR RELIEF FROM
THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (with supporting declarations) (REAL PROPERTY) will be served
or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 1/18/2017 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
Debtor's Counsel: Onyinye N Anyama, onyi@anyamalaw.com, anyamainfo@gmail.com;
                                      info_anyama@ecf.courtdrive.com
Chapter 13 Trustee: Kathy A Dockery (TR), efiling@CH13LA.com
U.S. Trustee: United States Trustee (LA), ustpregion16.la.ecf@usdoj.gov


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 1/18/2017      , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Debtor: Ulises Caldera, 14555 Jeremie Street, Baldwin Park, CA 91706 (U.S. Mail)
Judge: Honorable Sandra R. Klein, 255 E. Temple Street, Suite 1582, Los Angeles, CA 90012 (U.S. Mail)
Lienholder: Chase Mtg, PO Box 24696, Columbus, OH 43224 (U.S. Mail)



                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 1/18/2017                     Jeremy Romero                                         /s/ Jeremy Romero
 Date                          Printed Name                                                  Signature


        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 1   Case No. 2:16-bk-26918-SK
     Debtor: Ulises Caldera
 2
     Continuation Page in Support of Motion for Relief
 3
                                               I.
 4                                       LOAN HISTORY
 5
            On or about October 31, 2005, Ulises Caldera (“Debtor”) executed a First
 6
     Position Note in favor of Long Beach Mortgage Company, secured by a Deed of Trust
 7
 8   (“First DOT”). On October 27, 2007, Debtor executed and delivered To JTF Rose Inc.,
 9   A California Corporation, DBA Rose Financial (“Movant”), a Note, in the principal
10
     amount of $38,600.00. Concurrently therewith, and as security for the Note, Debtor
11
     executed and delivered to Movant, a Deed of Trust, recorded on November 6, 2007, in the
12
13   Official Records of Los Angeles County, California, as Document No.: 2007-2490441
14   (“Second DOT”). Movant holds all beneficial interest under the Second Position Note
15
     and Deed of Trust.
16
            In or around July of 2015, Debtor defaulted on the Loan which led to the
17
18   commencement of Foreclosure proceedings. Debtor is due for the July 1, 2015 payment

19   and all subsequent payments. Movant is informed and believes that Debtor has also
20
     defaulted on the First DOT. A Notice of Default and Election to Sell under the First
21
     DOT was recorded on August 18, 2015. Movant recorded a Notice of Default and
22
23   Election to Sell Under the Second DOT on December 22, 2015, in the Official Records of

24   Los Angeles County, as Document No.: 2015-1606055.
25
            To protect its interest under the Second DOT, on or about December 18, 2015,
26
     Movant paid $24,206.84 to the holder of the First DOT to reinstate the first trust deed loan
27
28   to prevent the first trust deed Sale from going forward.

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 1          On February 10, 2016, Debtor commenced a Chapter 13 Bankruptcy Petition,
 2
     Petition No.: 2:16-bk-11690-NB (“First Petition”). In connection with the First Petition
 3
     Debtor filed a Chapter 13 Plan which provided that Debtor would cure Movant’s Note and
 4
 5   Deed of Trust in full through the Chapter 13 Plan. On April 20, 2016 and order was

 6   entered confirming Debtor’s Chapter 13 Plan. On October 12, 2016, Movant caused to be
 7
     filed a Motion for Relief. An Order was entered granting Movant’s Motion for Relief on
 8
     November 3, 2016. On November 20, 2016, an Order and Notice of Dismissal was
 9
10   entered, due to Debtor’s failure to make Plan payments.

11          Thereafter, on December 5, 2016, Movant caused to be recorded a Notice of
12
     Trustee’s Sale, in the Official Records of Los Angeles County, as Document No.:
13
     20161525189, with an original sale date of December 29, 2016. One (1) day before
14
15   Movant’s scheduled Sale, Debtor filed the Instant Petition (the “Instant Petition”).

16                                                 II.
17
     The Petition Was Part of a Scheme to Delay, Hinder, or Defraud Creditors That Involved
18
     the Filing of Multiple Petitions Affecting the Property:
19
20
            Bad faith within the Chapter 13 context is measured by the totality of
21
     circumstances. In re Leavitt, 171 F.3d 1219, 1224 (9th Cir.1999); see also In re Eisen, 14
22
23   F.3d 469, 470 (9th Cir. 1994). A Chapter 13 petition filed in bad faith may be dismissed

24   "for cause" pursuant to 11 U.S.C. § 1307(c). In re Powers, 135 B.R. 980, 991
25   (Bankr.C.D.Cal.1991); In re Love, 957 F.2d 1350, 1354 (7th Cir.1992); In re Gier, 986
26
     F.2d 1326, 1329 (10th Cir.1993). To determine if a petition has been filed in bad faith
27
28

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 1   courts are guided by the standards used to evaluate whether a plan has been proposed in
 2
     bad faith. 11 U.S.C. § 1325(a)(3); Powers, 135 B.R. at 994; Gier, 986 F.2d at 1329.
 3
            “A judge should ask whether the debtor "misrepresented facts in his [petition or]
 4
 5   plan, unfairly manipulated the Bankruptcy Code, or otherwise [filed] his Chapter 13

 6   [petition or] plan in an inequitable manner." Id. at 1390. "A debtor's history of filings and
 7
     dismissals is relevant." In re Eisen, 14 F.3d 469, 470 (9th Cir. 1994) citing In re Nash, 765
 8
     F.2d 1410, 1415 (9th Cir.1985). 11 U.S.C. Section 1325(a)(7) requires that the action of
 9
10   the debtor in filing the petition was in good faith. “Once at issue, the burden falls on the

11   bankruptcy petitioner to establish that the petition has been filed in good faith.” In re
12
     Toibb, 902 F.2d 14 (8th Cir. 1990). Under 11 U.S.C. Section 1325(a)(3), the debtor bears
13
     the burden to prove that the Petition was not filed in bad faith. In re Love, 957 F.2d 1350,
14
15   1355 (7th Cir.1992).

16          Here, Debtor has filed two Bankruptcy Petitions within twelve (12) months. The
17
     instant position is presumptively filed in bad faith. The First Petition was filed under
18
     Chapter 13 of the Bankruptcy Code. Debtor proposed and confirmed a Chapter 13 Plan
19
20   that was not feasible. At the time of the First Petition Debtor’s Net Income was $746.02,

21   Pursuant to Debtor’s Schedule J. Debtor’s Net Income could not fund the proposed
22
     Chapter 13 Plan. Debtor’s First Petition was dismissed because the Debtor did not and
23
     could not make the Chapter 13 Plan payments, due to Debtor’s available Net Income.
24
25          Debtor does not offer any proof to rebut the presumption that the Instant Petition

26   was not filed in good faith. Debtor filed the Petition one (1) day before Movant’s
27   Scheduled Sale, as nothing more than another delay tactic. Debtor’s Net Income is
28

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 1   $744.01, pursuant to Debtor’s Schedule J. Since Debtor filed the First Petition, Debtor’s
 2
     available Net Income has not increased and his financial position has similarly not
 3
     improved. Debtor’s proposed Plan is not feasible taking into consideration Debtor’s
 4
 5   available net income. The absence of sufficient income to fund a feasible plan strongly

 6   suggests bad faith. In re Kollar, 356 B.R. 657 (Bankr. M.D. Fla. 2006); In re Nealen, 407
 7
     B.R. 194,201 (Bankr. W.D. Penn. 2009). Debtor cannot confirm a Chapter 13 Plan that
 8
     fully provides for Movant.
 9
10         Movant has not receive a post-petition payment from Debtor in connection with the

11   First Petition or Second Petition. Movant has not received a payment from the Debtor in
12
     eighteen (18) months.
13
                                                 III.
14
15                                          Conclusion

16         Based on the foregoing, Movants requests that this Court grant Movant Relief from
17
     the Automatic Stay. Movant further requests that the Court waive the 14 day stay
18
     pursuant to Bankruptcy Rule 4001(a)(3).
19
20
21
22
23
24
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26
27
28

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EXHIBIT “A”
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         REDACTED
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EXHIBIT “B”
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EXHIBIT “C”
               Case 2:16-bk-26918-SK                          Doc 17
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                                                                                                      18:49:15                                            Desc
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                                                                                          32
 Fill in this information to identify your case:

 Debtor 1                   Ulises Caldera
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              CENTRAL DISTRICT OF CALIFORNIA

 Case number           2:16-bk-26918-SK
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Chase Mtg                                Describe the property that secures the claim:               $210,000.00               $409,309.84                     $0.00
         Creditor's Name                          14555 Jeremie Street Baldwin Park,
                                                  CA 91706 Los Angeles County
                                                  FMV per www.eppraisal.com is
                                                  435,436; taking into consideration
                                                  the 6% (26,126.16) for cost of sale
                                                  the true FMV is 409,309.84
                                                  As of the date you file, the claim is: Check all that
         Po Box 24696                             apply.
         Columbus, OH 43224                           Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Deed of trust
       community debt

                                 Opened
                                 11/01/05
                                 Last Active
 Date debt was incurred          12/22/15                  Last 4 digits of account number        3803


         JFT Ross Inc., A
 2.2                                                                                                            $37,000.00              $409,309.84                     $0.00
         California Corpora                       Describe the property that secures the claim:
         Creditor's Name                          14555 Jeremie Street Baldwin Park,
                                                  CA 91706 Los Angeles County
                                                  FMV per www.eppraisal.com is
                                                  435,436; taking into consideration
                                                  the 6% (26,126.16) for cost of sale
                                                  the true FMV is 409,309.84
                                                  As of the date you file, the claim is: Check all that
         1404 E. Katella                          apply.
         Orange, CA 92867                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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                                                                                             01/11/17 17:25:36
                                                                                                      18:49:15                                                 Desc
                                                              Main Document    Page 34
                                                                                    12 of 34
                                                                                          32
 Debtor 1 Ulises Caldera                                                                                   Case number (if know)         2:16-bk-26918-SK
              First Name                Middle Name                      Last Name


 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                       car loan)
    Debtor 2 only
    Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another           Judgment lien from a lawsuit
    Check if this claim relates to a                  Other (including a right to offset)   Deed of Trust
    community debt

 Date debt was incurred       10/2007                     Last 4 digits of account number         1023


   Add the dollar value of your entries in Column A on this page. Write that number here:                                 $247,000.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                $247,000.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.2
        Assured Lender Services, Inc.
        2552 Walnut Avenue                                                                         Last 4 digits of account number   0096
        Tustin, CA 92780

        Name, Number, Street, City, State & Zip Code                                               On which line in Part 1 did you enter the creditor?   2.1
        Trustee Corps
        17100 Gillette Ave.                                                                        Last 4 digits of account number   8222
        Irvine, CA 92614




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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